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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DV DIAMOND CLUB
OF FLINT, LLC, et al.,

      Plaintiffs,                                  Case No. 20-cv-10899
                                                   Hon. Matthew F. Leitman
v.

UNITED STATES SMALL BUSINESS
ADMINISTRATION, et al.,


     Defendants.
__________________________________________________________________/

    ORDER SETTING BRIEFING SCHEDULE FOR PLAINTIFFS’
 RENEWED EMERGENCY MOTION FOR ENTRY OF A TEMPORARY
              RESTRAINING ORDER AND/OR
           PRELIMINARY INJUNCTION (ECF No. 12)

      Plaintiffs “own and operate venues that present clothed, semi-nude, and/or

nude performance entertainment, similar retail establishments, and businesses that

service those establishments.” (Mot., ECF No. 12, PageID.475.) Plaintiffs have each

applied for loans, or attempted to apply for loans, under the Paycheck Protection

Program (the “PPP”) of the Coronavirus Aid, Relief, and Economic Security Act.

Plaintiffs say that Defendants have promulgated and wrongly enforced against them

an unconstitutional regulation that prevents banks from providing loans under the

PPP to businesses that derive more than a de-minimus portion of their gross revenues

from entertainment of a “prurient sexual nature.” (Id., PageID.472.)


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      The Court held an on-the-record video conference with counsel for all parties

on April 20, 2020, to discuss a schedule for Plaintiffs’ emergency motion. During

that conference, counsel for Defendants informed the Court that if Plaintiffs’ counsel

provided to Defendants’ counsel completed and submitted loan applications from

each of the Plaintiffs, Defendants would likely be able to set aside the funds that

Plaintiffs requested in those applications while the Court decides the pending

emergency motion. Assuming that the Defendants will be able to set aside those

funds, the Court sets the following schedule with respect to Plaintiffs’ motion:

    By no later than 12:00 p.m. on April 20, 2020, Plaintiffs’ counsel shall

      provide to Defendants’ counsel all loan applications in his possession.

      Plaintiffs’ counsel shall collect all loan applications not currently in his

      possession and provide those to Defendants’ counsel by no later than 5:00

      p.m. on April 20, 2020.

    By no later than 5:00 p.m. on April 21, 2020, Defendants shall inform the

      parties and the Court if the Defendants have set aside the funding requested

      by Plaintiffs in the loan applications. If the Defendants cannot set aside the

      requested funds, then the Court will convene a status conference with counsel

      to discuss what adjustments to the schedule, if any, are necessary.

    By no later than April 24, 2020, Defendants shall file their response to

      Plaintiffs’ emergency motion.


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    By no later than 9:00 a.m. on April 27, 2020, Plaintiffs shall file a reply brief.

    The Court will schedule a Zoom hearing on Plaintiffs’ motion for the week of

      April 27, 2020.

    A representative of the Small Business Association who can testify as a

      deponent under Federal Rule of Civil Procedure 30(b)(6) shall be made

      available for a deposition within 48 hours of the Court’s hearing on Plaintiffs’

      motion if the Court determines during the hearing that such a deposition is

      necessary to resolve the motion.

      IT IS SO ORDERED.

                                         s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE
Dated: April 20, 2020

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on April 20, 2020, by electronic means and/or
ordinary mail.

                                         s/ Holly A. Monda
                                         Case Manager
                                         (810) 341-9764




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